Form ntcclm (01/2017)

                                     UNITED STATES BANKRUPTCY COURT
                                          Western District of Washington
                                            700 Stewart St, Room 6301
                                                Seattle, WA 98101


In
Re:                                                         Case Number: 23−11919−CMA
       HWC Burbs Burgers LLC                                Chapter: 7
       SSN:


       SSN:


       Debtor(s).

                                       NOTICE TO FILE PROOF OF CLAIM
                                        DUE TO RECOVERY OF ASSETS
                                        AND PAYMENT OF ESTATE FEES


YOU ARE NOTIFIED that the Trustee in this case, Edmund J Wood, has discovered assets. Creditors who wish to
share in any distribution of funds must file a proof of claim with the Clerk of the Bankruptcy Court at the address
above on or before September 23, 2024.


Creditors who do not file a proof of claim on or before this date may not be entitled to share in any distribution from
the Debtor's estate.

A Proof of Claim form may be filed electronically through the Court's website:
http://www.wawb.uscourts.gov/eclaims.htm. Filing claims electronically requires access to the internet, but no login
or password is required. Alternatively, claims can be submitted to the Court in paper through the U.S. Mail.

There is no fee for filing the proof of claim.

                           ANY CREDITOR WHO HAS FILED A PROOF OF CLAIM
                          ALREADY NEED NOT FILE ANOTHER PROOF OF CLAIM


If the Trustee recovers assets in this case, the estate will be required to pay banking fees not to exceed 2% of the
estate's bank account balance per year. In addition, the estate may be required to pay a bond premium not to exceed
0.1% of the estate's bank account balance. If you object to the payment of these amounts, you must file an objection
with the Court on or before the deadline set above for the filing of proofs of claim and set the matter for hearing.


Dated: June 21, 2024


                                                            Gina Zadra Walton
                                                            Clerk of the Bankruptcy Court




       Case 23-11919-CMA             Doc 108     Filed 06/20/24       Ent. 06/20/24 22:20:02         Pg. 1 of 1
